\ Case 1 03 cr 10012 .]DT Document 43 Filed 05/17/05 Page 1 of 3 Page|D 39 /*

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IN THE UN"ITED STATES DISTRICT COURT

     
 

ron THE wEsTERN DISTRICT oF TENNESSEE_
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UNiTED sTATES oF AMERJCA, * r `§[:=_ ~. _ 10
Piainiirf, * ' ,_' _ L.:’ 31 CI
,i .`.",H, l ON
v. * CR. o. 03_10012-T
DARRYL sCoTT sUsEWiTT *
Det`endant. *

 

MOTION TO CONTINUE HEARING ON?E{SENTENCING

/

CoInes now the Defendant by and through counsel £d Moves this Honorable Court that the
hearing in this matter presently set for Tuesday, May l]/ 2005 at 8: 45 a. rn. be continuedl In support

of this motion Defendant would state: _, '
/

l. Defendant is in custody at the Fe eral Correctional Institute in Memphis, Tennessee

Defense counsel met with Defendant on Fr` ay, May 13, 2005 and reviewed the ruling ii'om the Court

nts in this case. Defendant is in agreement for the hearing to

     
   
  
 
 
 

oprpeals and also the earlier doc

be continued for the grounds s forth below.

2. Defendant l be filing additional objections to the recommendations of the original

pre sentence report ased upon changes in sentencing law since Defendant’s original sentencing It
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to respo to such objections ' mcp
C"‘ C`D_ '~- i
/`\»_"“ __;j-
Defense counsel will be out of the office the entire week of May 31‘“§§@§§ 2005 for
-..1 .CD

atte ance at a seminar.

4. Defense counsel has consulted with government coumbnii.i]§ ` n&o‘|;_:itatwib

DATE:

relief requested
Th document entered onthe docketa%_ James |;},j road
U. S. District Judge

with Fluie 55 andlor 32(b) FFlCrP on

Case 1:03-cr-10012-.]DT Document 43 Filed 05/17/05 Page 2 of 3 Page|D 40

Preiriis es considered, Defendant moves that the re-sentencing be rescheduled for the grounds
set forth above. Defendant further respectfully requests that the matter be set for hearing the week

of June 6, 2005 or thereafter

Respectii.illy submitted, this the l §§ day of MMS: 2005 .

'CT'

  

"__""`-~..
M. Dianne Sni thers [011 74]
Assistant Federal Defender
109 S. Highland Ave., an B-S
Jackson, TN 38301
Phone: (731)427-2556

CERTIFICATE OF SERVICE

 

The undersigned hereby certifies that a true and exact copy of the foregoing was served upon
all interested parties by either hand delivery or by mailing same, postage prepaid to the following:

Mr. James Powell

Assistant United States Attomey
109 South Highland, Suite 300
Jackson, Tennessee, 38301

This the l. §§ day of

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 1:03-CR-10012 was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

